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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ROLINDA J. GARCIA,

      Plaintiff,

v.                                                       Case No: 8:21-cv-894-CEH-JSS

CBE GROUP, INC.,

      Defendant.
___________________________________/

                                      ORDER

      Before the Court is Plaintiff’s Notice of Voluntary Dismissal With Prejudice

(Doc. 11). In accord with the Notice of Voluntary Dismissal With Prejudice, it is

ORDERED AND ADJUDGED as follows:

      1)     Plaintiff’s Notice of Voluntary Dismissal With Prejudice is APPROVED

(Doc. 11).

      2)     This cause is dismissed, with prejudice.

      3)     The Clerk is directed to close this case.

      DONE AND ORDERED in Tampa, Florida on May 25, 2021.




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Counsel of Record
